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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                    CASE NUMBER:


   UNITED STATES OF AMERICA                                           2:21−mc−00043−DMG−MRW
                                                   Petitioner(s),

            v.
   SPACE EXPLORATION TECHNOLOGIES
   CORP.
                                                                      NOTICE TO FILER OF DEFICIENCIES IN
                                                 Respondent(s).       ELECTRONICALLY FILED DOCUMENTS




   PLEASE TAKE NOTICE:

   The following problem(s) have been found with your electronically filed document:

   Date Filed:         2/4/2021
   Document Number(s):                 8
   Title of Document(s):              Notice of Appearance
   ERROR(S) WITH DOCUMENT:

   Incorrect event selected. Correct event to be used is: Notice of Appearance of Withdrawal of Counsel G123.




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   document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
   notice unless and until the Court directs you to do so.


                                                    Clerk, U.S. District Court

   Dated: February 8, 2021                          By: /s/ Andrea Kannike Andrea_Kannike@cacd.uscourts.gov
                                                       Deputy Clerk

   cc: Assigned District Judge and/or Magistrate Judge

       Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.



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